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       1                     UNITED STATES BANKRUPTCY COURT
       2                     EASTERN DISTRICT OF CALIFORNIA
       3
       4   In re:                           )      Case No. 19-21640-B-13
                                            )
       5   DEBORA LEIGH MILLER-ZURANICH,    )
                                            )
       6                                    )
                               Debtor(s). )
       7   ________________________________ )
       8
       9
     10          Before the court is a motion to impose the automatic stay of
     11    11 U.S.C. § 362(a) filed by debtor Deborah Miller-Zuranich.      A
     12    hearing on the motion was held on April 23, 2019.   The debtor
     13    appeared in person.   The debtor was also sworn and testified in
     14    support of the motion.
     15          The debtor was a debtor in three other bankruptcy cases that
     16    were filed in and dismissed by the United States Bankruptcy Court
     17    for the Northern District of California within one year preceding
     18    the filing of this case.   Those prior bankruptcy cases are as
     19    follows:
     20          Case No. 18-31023 was filed on September 18, 2018, and
                 dismissed on November 8, 2018;
     21
                 Case No. 18-31252 was filed on November 20, 2018, and
     22          dismissed on December 21, 2018; and
     23          Case No. 19-30034 was filed on January 11, 2019, and
                 dismissed on January 28, 2019.
     24
                 Under § 362(c)(4)(A)(i), the automatic stay of § 362(a) did
     25
           not go into effect when the petition that commenced this Chapter
     26
           13 case was filed.
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       1         The petition that commenced this Chapter 13 case was filed
       2   on March 18, 2019.       Docket 1.   The debtor filed this motion to
       3   impose the automatic stay on April 1, 2019.       Docket 11.   Filed
       4   within thirty days of the petition date, this motion is timely.
       5   See 11 U.S.C. § 362(c)(4)(B).
       6         The debtor also provided testimony on April 23, 2019, of
       7   changed personal circumstances in support of the motion.       Based
       8   on the debtor’s testimony, the court is persuaded that the debtor
       9   has presented clear and convincing evidence sufficient to
     10    overcome the presumption that this Chapter 13 case was filed in
     11    bad faith.    See 11 U.S.C. § 362(c)(4)(D).     Therefore,
     12          IT IS ORDERED that the motion is GRANTED and the automatic
     13    stay of 11 U.S.C. § 362(a) is imposed as to all parties and for
     14    all purposes.
     15
     16            April 25, 2019

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       1                           INSTRUCTIONS TO CLERK OF COURT
                                            SERVICE LIST
       2
                The Clerk of Court is instructed to send the attached
       3   document, via the BNC, to the following parties:
       4   Debora Leigh Miller-Zuranich
           9369 Newington Way
       5   Elk Grove CA 95758
       6
           Jan P. Johnson
       7   PO Box 1708
           Sacramento CA 95812
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